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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SOCIAL POSITIONING INPUT            §
SYSTEMS, LLC,                       §                Case No:
                                    §
      Plaintiff,                    §                 PATENT CASE
                                    §
vs.                                 §                JURY TRIAL DEMANDED
                                    §
LOGSAT SOFTWARE, LLC,               §
                                    §
      Defendant.                    §
___________________________________ §

                                          COMPLAINT

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files this

Complaint against LogSat Software, LLC (“Defendant” and/or “LogSat Software”) for

infringement of United States Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).

                                           PARTIES

       1.      Plaintiff is a Wyoming limited liability company having an address at 1 East

Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

       2.      On information and belief, Defendant is a Delaware corporation with a place of

business at 2801 Centerville Rd., 1st Floor, Wilmington, DE 19808. On information and belief,

Defendant may be served through its registered agent, CorpAmerica, Inc., 251 Little Falls Drive,

Wilmington, DE 19808.

                                    JURISDICTION AND VENUE

       3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et

seq. Plaintiff is seeking damages, as well as attorney fees and costs.

       4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents).



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        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

        7.       Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is

deemed to be a resident in this District. Alternatively, acts of infringement are occurring in this

District and Defendant has a regular and established place of business in this District.

                                         PATENT-IN-SUIT

        8.       Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent No.

9,261,365 (hereinafter “the SPIS Patent” or “the ’365 Patent”). The ’365 Patent is attached as

Exhibit B.

        9.       The SPIS Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

        10.      The priority date of the SPIS Patent is at least as early April 28, 2006. As of the

priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-

routine.

        11.      Plaintiff alleges infringement on the part of Defendant of the SPIS Patent.

        12.      The ’365 Patent relates generally to devices, systems and methods for remotely

entering, storing and sharing location addresses for a positional information device, e.g., a global

positioning system (GPS) device. The devices, systems and methods of the ’365 Patent allow a




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user to easily and safely enter an address into a GPS device by giving that address to a remote

communications link and to have that link automatically program the user’s GPS device for

usage. The devices, systems and methods of the ’365 Patent further allow the user to use this

stored address(es) on multiple GPS devices without having to manually enter the address(es).

See Abstract, ’365 Patent.

       13.     As noted, the claims of the SPIS Patent have priority to at least April 28, 2006.

The deficiencies in the state of the art as of the Date of Invention were highly problematic. At

that time, programming addresses (e.g., destination information) into a GPS device was

problematic. The first problem is that different devices recognize addresses differently

depending on the preprogrammed information that has been stored. Additionally, different

devices have different user interfaces and program differently. If a user knew how to

program one device, he may not necessarily know how to program another unit. A second

problem in the state of the art as of the Date of Invention is that many users have multiple

vehicles that go to the same address and require route guidance by the GPS device. The

current systems would require the user to enter the requested address (e.g., destination

information) or multiple addresses into all vehicle units individually. This is an unnecessary

waste of time. A third problem in the state of the art as of the Date of Invention is that many

times a user needs to route to an address or destination while the user is driving. It may be

an address that the user does not even have a correct city designation for. The GPS devices

as of the Date of Invention made it extremely difficult or impossible for a user to program

the device for an address while driving. In fact, for reasons of safety, some GPS devices

discourage or lock out users from address entry while the vehicle is being operated.

However, a definite need exists for a user to quickly program the GPS device to a desired




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address. See ’365 Patent at 1:54-2:42.

       14.     The claims of the SPIS Patent overcome deficiencies existing in the art as of the

date of invention, and comprise non-conventional approaches that transform the inventions as

claimed into substantially more than mere abstract ideas.

       15.     The claims of the SPIS Patent are not drawn to laws of nature, natural phenomena,

or abstract ideas. The specific combinations of elements, as recited in the claims, was not

conventional or routine at the time of the invention.

       16.     Further, the claims of the SPIS Patent contain inventive concepts which transform

the underlying non-abstract aspects of the claims into patent-eligible subject matter.

       17.     The ’365 Patent was examined by Primary United States Patent Examiner Ian

Jen. During the examination of the ’365 Patent, the United States Patent Examiner searched for

prior art in the following US Classifications: G01C 21/00; G08G 1/005; G08G 1/09685; G08G

1/096816; G08G 1/096866; and G08G 1/096883.

       18.     After conducting a search for prior art during the examination of the ’365 Patent,

the United States Patent Examiner identified and cited the following as the most relevant prior

art references found during the search: US 6,073,075; US 6,202,023; US 6,584,402; US

7,084,872; US 7,523,417; US 2002/0154173; US 2002/0156578; US 2003/0018428; US

2003/0018887; US 2003/0050751; US 2003/0055530; US 2003/0126264; US 2004/0066330;

US 2004/0068567; US 2004/0228489; US 2006/0041374; US 2006/0094353; US

2006/0240860; US 2007/0143015; US 2009/0073254; US 2011/0273570; and US

2011/02733579.

       19.     After giving full proper credit to the prior art and having conducted a thorough

search for all relevant art and having fully considered the most relevant art known at the time,




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the United States Patent Examiner allowed all of the claims of the ’365 Patent to issue. In so

doing, it is presumed that Examiner Jen used his knowledge of the art when examining the

claims. K/S Himpp v. Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is

further presumed that Examiner Jen had experience in the field of the invention, and that the

Examiner properly acted in accordance with a person of ordinary skill. In re Sang Su Lee, 277

F.3d 1338, 1345 (Fed. Cir. 2002). In view of the foregoing, the claims of the ’365 Patent are

novel and non-obvious, including over all non-cited art which is merely cumulative with the

referenced and cited prior art. Likewise, the claims of the ’365 Patent are novel and non-obvious,

including over all non-cited contemporaneous state of the art systems and methods, all of which

would have been known to a person of ordinary skill in the art, and which were therefore

presumptively also known and considered by Examiner Jen.

       20.     The ’365 Patent is a pioneering patent, and has been cited as relevant prior art in

numerous subsequent United States Patent Applications, including Applications assigned to such

technology leaders as Qualcomm, Inc., IBM Corporation, Garmin Ltd., Sony Corp., and Apple,

Inc.

       21.     The claims of the ’365 Patent were all properly issued, and are valid and

enforceable for the respective terms of their statutory life through expiration, and are enforceable

for purposes of seeking damages for past infringement even post-expiration. See, e.g., Genetics

Institute, LLC v. Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011)

(“[A]n expired patent is not viewed as having ‘never existed.’ Much to the contrary, a patent

does have value beyond its expiration date. For example, an expired patent may form the basis

of an action for past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal

citations omitted).




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        22.     The nominal expiration date for the claims of the ’365 Patent is no earlier than

April 28, 2026.



                              ACCUSED INSTRUMENTALITIES

        23.     Upon information and belief, Defendant sells, advertises, offers for sale, uses, or

otherwise provides at least an application (i.e., the Family Tracker application) that utilizes a

tracking and management method for monitoring real-time GPS locations to receive real-time

locations of assets or objects (i.e., location information) through one or more positional

information devices (e.g., desktop or mobile devices).

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)

        24.     Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 23, the same

as if set forth herein.

        25.     This cause of action arises under the patent laws of the United States and, in

particular under 35 U.S.C. §§ 271, et seq.

        26.     Defendant has knowledge of its infringement of the ‘365 Patent, at least as of the

service of the present complaint.

        27.     The ‘365 Patent is valid, enforceable, and was duly issued in full compliance with

  Title 35 of the United States Code.

        28.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1 of the ‘365 Patent, by manufacturing, using,

importing, selling, offering for sale, and/or providing (as identified in the Claim Chart attached

hereto as Exhibit A) its product which is an application (i.e., Family Tracker application) that

utilizes a tracking and management method for monitoring real-time GPS locations to receive



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real-time locations of assets or objects (i.e., location information) through one or more positional

information devices (e.g., desktop or mobile devices) (“Accused Instrumentalities”), which

infringes at least Claim 1 of the ‘365 Patent. Defendant has infringed and continues to infringe

the ‘365 patent either directly or through acts of contributory infringement or inducement in

violation of 35 U.S.C. § 271.

          29.   Defendant also has and continues to directly infringe, literally or under the doctrine

of equivalents, at least claim 1 of the ‘365 Patent by having its employees internally test and use

the Accused Instrumentalities.

          30.   The service of this Complaint, in conjunction with the attached claim chart (Exhibit

A) and references cited, constitutes actual knowledge of infringement as alleged here.

          31.   Despite such actual knowledge, Defendant continues to make, use, test, sell, offer

for sale, market, and/or import into the United States, products (which include at least the Accused

Instrumentalities) that infringe the ‘365 Patent. On information and belief, Defendant has also

continued to sell products and distribute product literature and website materials inducing end

users and others to use its products in the customary and intended manner that infringes the ‘365

Patent. See Exhibit A (extensively referencing these materials to demonstrate how they direct end

users to commit patent infringement).

          32.   At least since being served by this Complaint and corresponding claim chart,

Defendant has actively, knowingly, and intentionally continued to induce infringement of the ‘365

Patent, literally or by the doctrine of equivalents, by selling the Accused Instrumentalities to their

customers for use in end-user products in a manner that infringes one or more claims of the ‘365

Patent.

          33.   Exhibit A includes at least one chart comparing the exemplary claim 1 of the ‘365




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Patent to the Accused Instrumentalities. As set forth in this chart, the Accused Instrumentalities

practice the technology claimed by the ‘365 Patent. Accordingly, the Accused Instrumentalities

incorporated in this chart satisfy all elements of exemplary claim 1 of the ‘365 Patent.

          34.    Plaintiff therefore incorporates by reference in its allegations herein the claim chart

of Exhibit A.

          35.    Plaintiff is entitled to recover damages adequate to compensate for Defendant’s

infringement.

          36.    Defendant’s actions complained of herein will continue unless Defendant is

  enjoined by this court.

          37.    Defendant’s actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

  and restrained by this Court.

          38.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                   DEMAND FOR JURY TRIAL

          39.   Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable by right.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,261,365 (or, in the




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alternative, awarding Plaintiff running royalties from the time of judgment going forward);

       (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.



 Dated: March 8, 2023                                   Respectfully Submitted,

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